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                                               U .S . DISTRICT COURT
                      UNITED STATES DISTRICT COl} 'RICT O N .H .
                    FOR THE DISTRICT OF NEW HAMPSHTRE

                                              1 :04-cv-0010j% OCT I I A 11
                                                                                : 20

WENDY EVANS, for herself and
     On behalf of others similarly situated(
                                            (
                    Plaintiff
                                            (
                    vs.            (
TACO BELL, CORP.
                                            (
                    Defendants
                                              (


                                 NOTICE OF APPEAL

       Notice is hereby given that the plaintiff, Wendy Evans, for herself and on behalf

of others similarly situated, hereby appeals to the United States Court of Appeals for the

First Circuit from the September 23, 2005 final judgment granting the defendant's

Motion for Summary Judgment .


                                                     Respectfully submitted ,
                                                     Wendy Evans and all class plaintiffs ,
                                                     By their Attorney s

Dated : October 14, 2005
                                                     W . Wright Danenbarger, Esq #578
                                                     Peter E . Hutchins, Esq . #1231
                                                     Wiggin & Nourie, P .A.
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                             CERTIFICATE OF SERVIC E

       I hereby certify that on the 14th day of October, 2005 service of a copy of the
foregoing Notice of Appeal was made on the attorney of record for the Defendants by
mailing a true copy thereof, contained in a sealed envelope, with postage prepaid,
addressed to said attorney as shown below.


                             Andrew W . Serell, Esquire
                        RATH, YOUNG and PIGNATELLI, P A
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                      By :
                              W . Wright Danenbarger, Esq .




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